                    IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


KATMAI WATER TAXI, LLC,

                Plaintiff,

        and

TRAVELERS PROPERTY
CASUALTY COMPANY OF
AMERICA,                                   Case No. 3:21-cv-00110-SLG

                Intervenor-Plaintiff,

        v.

NW BEND BOATS, LLC, d/b/a North
River Boats,

                     Defendant.


                    JOINT STIPULATED CONFIDENTIALITY ORDER

      Upon due consideration, the Court GRANTS the parties’ Agreed Motion for

Entry of Confidentiality Order at Docket 29 and enters the following Joint Stipulated

Confidentiality Order.

      WHEREAS, it is anticipated that the parties to this lawsuit will be producing

documents and supplying information during the discovery phase of this action that

a party may regard as proprietary or otherwise confidential;

      WHEREAS, it is also anticipated that court filings and discovery papers in this

matter will include references to documents and/or information that a party may

regard as proprietary or otherwise confidential;



        Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 1 of 10
       WHEREAS, it is further anticipated that deposition testimony in this matter

will include references to documents and/or information that a party may regard as

proprietary or otherwise confidential;

       WHEREAS, the parties to this action desire to protect the confidentiality of

any such proprietary or otherwise confidential documents or testimony furnished in

the course of such actions or proceedings;

       IT IS HEREBY stipulated and made an Order of the Court that, until this

Stipulated Confidentiality Order is amended or superseded, all parties and their

employees who are provided with Confidential Information (as hereinafter defined)

shall follow the procedures set forth below with respect to certain documents,

information, or testimony provided or exchanged in these or related actions or

proceedings.

       A.       Scope.

       1.       This Order shall govern all documents and information produced by

any party or persons or entities not a party to this action, whether produced

informally or pursuant to a formal discovery request and shall also include all

documents or information contained in a document, or information revealed during

a deposition or in any interrogatory answer or otherwise disclosed in discovery.

       2.       Nothing in this Order precludes any party from seeking relief from the

Court with regard to the production of documents or information.

       3.       This Order does not alter any confidentiality obligations that a party
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 2 of 10

            Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 2 of 10
may have at law or under another agreement.

       4.       Nothing in this Order shall be construed as an agreement or

acknowledgment by the non-producing party that any document, testimony, or

other information designated as “Confidential” or “Confidential—Attorney’s Eyes

Only” constitutes a trade secret or is in fact confidential.

       B.       Confidential Information.

       1.       Materials that contain sensitive information may be designated as

"Confidential" or as "Confidential – Attorney’s Eyes Only." The producing party will

make such a designation only as to those documents or discovery responses that

are in good faith believed to contain or constitute valuable confidential, proprietary,

trade secret, or other sensitive information. Materials so designated are referred to

herein as "Confidential Information."

       2.       Documents shall be designated as Confidential Information by marking

or stamping each page of any such document "Confidential," "Confidential—

Attorney’s Eyes Only," or identifying such documents by bates production numbers

or other unequivocal identifier in writing to each party receiving the Confidential

Information. In lieu of marking the originals of documents, any party may mark the

copies of such documents that are produced or exchanged.

       3.       With respect to testimony that constitutes or references Confidential

Information, confidential portions of the transcript may be designated as such on

the record at the time the testimony is given, and additional portions of the
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 3 of 10

            Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 3 of 10
testimony may be designated as "Confidential" or "Confidential – Attorney’s Eyes

Only" within ten (10) days after receipt of the transcript. Until the ten (10) day period

has expired, the entire transcript shall be treated as Confidential Information. In

addition, any deposition in which documents designated as containing Confidential

Information are marked as exhibits or shown to the deponent or otherwise employed

shall be considered confidential and subject to the provisions of this Order.

        4.       The parties acknowledge this Agreement shall be construed consistently

with Fed. R. Civ. P. 26. The Agreement does not confer blanket protection on all

disclosures or responses to discovery. The protection afforded by this Agreement

extends only to the information or items that are entitled to be confidential and this

Agreement does not presumptively entitle parties to file confidential material under

seal.

        5.       Any party or non-party may challenge a designation of confidentiality

at any time.       Unless a prompt challenge to designating party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary

economic burdens, or a significant disruption or delay of the litigation, a party does

not waive its right to challenge a confidentiality designation by electing not to mount

a challenge promptly after the original designation is disclosed.

        C.       Treatment of Confidential Information.

        1.       Except as otherwise provided in this or subsequent court orders,

documents designated as “Confidential” shall not be disclosed or shown to anyone
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 4 of 10

             Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 4 of 10
other than:

               (a)   The parties, the employees of such parties, or the agents of the

                     parties (or the parent or beneficial owner of such party) to whom

                     it is necessary that Confidential Information be shown for

                     purposes of this proceeding;

               (b)   Outside counsel for the parties, the employees of such attorneys,

                     and agents of such attorneys, to whom it is necessary that

                     Confidential Information be shown for purposes of this

                     proceeding;

               (c)   Inside counsel for each party and the employees of such

                     attorneys to whom it is necessary that Confidential Information

                     be shown for purposes of this proceeding;

               (d)   Persons employed by any party or its attorneys solely for the

                     purpose of assisting in the preparation of this action for trial,

                     including but not limited to experts, their staff, and support

                     personnel to whom it is necessary that Confidential Information

                     be shown for purposes of assisting in such preparation;

               (e)   The Court or persons employed by the Court and the jury;

               (f)   Duly qualified court reporters and videographers participating in

                     these proceedings;

               (g)   Persons who were the authors or recipients of the documents in

Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 5 of 10

         Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 5 of 10
                      the ordinary course of business;

                (h)   Witnesses in preparation for or in the course of depositions or

                      the trial of this matter; and

                (i)   Persons who, in addition to those identified above, are permitted

                      access by order of the Court or upon stipulation of the party that

                      produced or disclosed the Confidential Information, after notice

                      to all parties and an opportunity has been had to object.

       2.       In the event that documents or testimony are designated as

"Confidential— Attorney’s Eyes Only," such information shall not be disclosed or

shown to anyone other than the persons described in paragraph C.1(b), C.1(d),

C.1(e), C.1(f), C.1(g) and C.1(i).

       3.       Confidential Information shall be used by the receiving party solely for

the prosecution and/or defense of this litigation and only as provided in this

Stipulated Confidentiality Order. Confidential Information shall not be used or

employed for the purpose of any other action, use or proceeding, or for any

commercial, business or other purpose whatsoever. It is specifically recognized

that information, which is marked "Confidential,” shall not be utilized by the

receiving party for any purpose other than the prosecution and/or defense of this

litigation.

       4.       No person shall disclose Confidential Information to any third party,

except as provided by this Order, without prior written notice of the specific
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 6 of 10

            Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 6 of 10
disclosures and persons involved to the producing party and any other person or

entity which claims the information is Confidential Information. Such disclosure

shall not be made until the party seeking to disclose the document provides ten

days written notice to the person or party claiming information is Confidential

Information [note, this may not be the “producing party”] and (1) such party

consents to the disclosure; or (2) the court resolves any objections to the

disclosure, whichever is earlier. Any objections to such disclosure shall be made

in writing by the producing party within 10 days after receipt of notice of any intent

to disclose.

       5.       Notwithstanding    anything   to   the   contrary   in     the   foregoing

paragraphs, any party may use without restriction:

                (a)   its own documents or information; and

                (b)   documents or information developed or obtained by a receiving

                      party independently of discovery in these or related actions or

                      proceedings; regardless of whether such document or

                      information has been designated by the producing party as

                      Confidential Information.

       6.       Each person given access to designated Confidential Information shall

be advised that the information is being disclosed pursuant and subject to the terms

of this Stipulated Confidentiality Order and may not be disclosed other than as

provided by this Order.        To the extent such person is neither a party nor

Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 7 of 10

            Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 7 of 10
employed by a party, such person shall sign an agreement to be bound to this

order before any Confidential Information is disclosed.

       7.       No Confidential Information, including but not limited to transcripts,

depositions, exhibits, and pleadings, shall be filed with the Court or used in a

hearing unless the party seeking to file or use the Confidential Information has

provided, at least five (5) business days before the intended use, written notice to

all parties and any person claiming the information is Confidential Information, of its

intent to use any information designated as Confidential Information. This pre- filing

notice shall specify the specific information that the party intends to file with the

Court and will allow the other party's counsel time to seek a temporary or permanent

sealing order, if desired.

       8.       In the event of an emergency, a party seeking to file or use Confidential

Information shall not file or use any such information but shall instead tender to

the Court for in camera inspection the Confidential Information that it seeks to file

and seek a ruling permitting the use of the material. During the pendency of a

motion for protection or in the event of an emergency, the parties will treat

Confidential Information in dispute as subject to this Confidentiality Order until the

Court enters an order determining otherwise.

       9.       The inadvertent or unintentional disclosure of Confidential Information,

regardless of whether the information was so designated at the time of the

disclosure, shall not be deemed a waiver, in whole or in part, of a party's claim of
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 8 of 10

            Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 8 of 10
confidentiality, either as to the specific information disclosed or as to any other

information relating thereto on the same or related subject matter if, within ten (10)

days of discovering the inadvertent failure to designate the material as confidential,

the person or entity that provided the Confidential Information identifies the material

produced and amends the designation.

         10.   Within thirty (30) days after the settlement or final adjudication,

including appeals, of the action or actions in which the documents have been

produced, all Confidential Information supplied by the parties and non-parties and

all copies thereof shall, upon request, be certified to have been destroyed or

deleted. However, it is understood that each party may retain a complete file of all

litigation documents filed with the Court in these actions and that work product in

the possession or control of counsel for any party that reflects or includes

information derived from documents or testimony designated as confidential will

not be destroyed or deleted.

         11.   Any   dispute   concerning     the   application   of   this   Stipulated

Confidentiality Order shall be heard by the Court upon motion by the objecting

party.

         12.   The designating party shall exercise restraint in its designations and

shall take care to limit its designations to specific material qualifying under the

appropriate standards. The designating party must designate for protection only

those parts of material that qualify, so that other portions are not swept unjustifiably
Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 9 of 10

           Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 9 of 10
within the ambit of this Agreement. Mass, indiscriminate, or routinized designations

are prohibited. Any abuse of this Stipulated Confidentiality Order may result in

sanctions/costs being taxed against the abusive party.


Dated: 9/23/2021


STIPULATED AND AGREED TO:


/s/ Michael Feibus_______________
Attorney for Plaintiff
Katmai Water Taxi, LLC

/s/ Rob Sykes w/p MBF
Attorney for Defendant
NW Bend Boats LLC d/b/a North River Boats

/s/ Joshua Southwick w/p MBF
Attorney for Intervenor
Travelers Property Casualty Company of North America



      IT IS SO ORDERED this 24th day of September 2021 at Anchorage, Alaska.

                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




Case No. 3:21-cv-00110-SLG, Katmai Water Taxi, LLC v. NW Bend Boats, LLC
Joint Stipulated Confidentiality Order
Page 10 of 10

        Case 3:21-cv-00110-TMB Document 30 Filed 09/24/21 Page 10 of 10
